948 F.2d 1281
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mose HORN, Petitioner,v.HOBBS BROTHERS COAL COMPANY;  Director, Office of Workers'Compensation Programs, United States Department ofLabor, Respondents.
    No. 91-2624.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 28, 1991.Decided Nov. 19, 1991.As Amended Dec. 9, 1991.
    
      On Petition for Review of an Order of the Benefits Review Board.  (89-2612-BLA)
      Mose Horn, petitioner pro se.
      Timothy Ward Gresham, Penn, Stuart, Eskridge &amp; Jones, Abingdon, Va.;   Michael John Denney, Steven D. Breeskin, Christian P. Barber, United States Department of Labor, Washington, D.C., for respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before ERVIN, Chief Judge, SPROUSE, Circuit Judge, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Mose Horn seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. §§ 901-945 (West 1986 &amp; Supp.1991).   Our review of the record and the Board's decision and order discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the Board.   Horn v. Hobbs Bros. Coal Co., No. 89-2612-BLA (Ben.Rev.Bd. June 27, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    